Case 4:23-cv-01013-SDJ Document 191 Filed 01/31/24 Page 1 of 5 PageID #: 605




                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

 QJ TEAM, LLC, ET AL.                        §
                                             §
 v.                                          §       CIVIL NO. 4:23-CV-1013-SDJ
                                             §
 TEXAS ASSOCIATION OF                        §
 REALTORS, INC., ET AL.                      §
 JULIE MARTIN, ET AL.                        §
                                             §
 v.                                          §      CIVIL NO. 4:23-CV-1104-SDJ
                                             §
 TEXAS ASSOCIATION OF                        §
 REALTORS, INC., ET AL.                      §

                      PRELIMINARY SCHEDULING ORDER

       The parties in QJ Team, LLC, et al. v. Texas Association of Realtors, Inc., et al.,

4:23-CV-1013-SDJ, (Dkt. #188), and Julie Martin, et al. v. Texas Association of

Realtors, Inc., et al., 4:23-CV-1104-SDJ, (Dkt. #218), have made identical filings

concerning preliminary matters. Plaintiffs QJ Team, LLC and Five Points Holdings,

LLC (collectively, the “QJ Team Plaintiffs”), Julie Martin, Mark Adams, and Adelaida

Matta (collectively, the “Martin Plaintiffs”), and the “Stipulating Defendants,” 1 have


       1 The Stipulating Defendants are, in alphabetical order, ABA Management, L.L.C.

d/b/a Allie Beth Allman and Associates; ATX WIR LLC; Austin Board of Realtors®;
Austin/Central Texas Realty Information Service; Central Texas Multiple Listing Service,
Inc.; CitiQuest Properties, Inc.; DMTX, LLC; DSJMM, LLC; Ebby Halliday Real Estate, LLC;
Fathom Realty, LLC; Fort Hood Area Association of Realtors®, Inc.; Four Rivers Association
of Realtors®, Inc.; Greater El Paso Association of Realtors®; Greater Fort Worth Association
of Realtors®, Inc.; Greenwood King Properties II, Inc.; Hexagon Group, LLC; Heyl Group
Holdings LLC; HomeServices of America, Inc.; Houston Association of Realtors®, Inc.;
Houston Realtors® Information Service, Inc.; JP Piccinini Real Estate Services, LLC d/b/a
JPA; Keller Williams Realty, Inc.; Keller Willis San Antonio, Inc.; Mark Anthony Dimas;
MetroTex Association of Realtors®, Inc.; MJHM LLC; Moreland Properties, Inc.; North Texas
Real Estate Information Systems, Inc.; PenFed Realty, LLC; Real Agent LLC; Realty Austin,


                                             1
Case 4:23-cv-01013-SDJ Document 191 Filed 01/31/24 Page 2 of 5 PageID #: 606




reached the following stipulations: 2

•   The QJ Team Plaintiffs filed a Class Action Complaint (the “QJ Team Complaint”)

    in the action styled QJ Team, LLC, et al. v. Texas Association of Realtors, Inc., et

    al., Civil Action No. 4:23-cv-01013-SDJ (the “QJ Team” case) on November 13,

    2023;

•   The QJ Team Complaint includes a claim under Section 1 of the Sherman Act

    based generally on allegations that Defendants have engaged in a conspiracy to

    require sellers of residential property in Texas to make inflated payments to the

    brokers or agents representing the buyers in the transactions;

•   The Defendants in the QJ Team case have not responded to the QJ Team

    Complaint and the parties have not yet filed an initial status report;

•   The Martin Plaintiffs filed a similar Class Action Complaint (the “Martin

    Complaint”) in a separate action styled Julie Martin, et al. v. Texas Association of

    Realtors, Inc., et al., Civil Action No. 4:23-cv-01104-SDJ (the “Martin” case) on

    December 14, 2023;

•   The Martin Complaint names as defendants all of the defendants named in the



LLC; RFT Enterprises, Inc.; San Antonio Board of Realtors®, Inc.; San Antonio Legacy Group,
LLC; Side, Inc.; Square MB, LLC; Team Burns, LLC d/b/a Monument Realty; Temple-Belton
Board of Realtors®, Inc.; Texas Association of Realtors®, Inc.; The Dave Perry-Miller
Company; The Loken Group, Inc.; Turner Mangum LLC; Victoria Area Association of
Realtors®, Inc.; and Williamson County Association of Realtors®, Inc.
       2 By entering into this Stipulated Scheduling Order, no party waives, in this or any

other action, any claims, counterclaims, defenses, affirmative defenses, rights (including
arbitration), or arguments, whether stemming from common law, statute, or otherwise. This
expressly includes not waiving the right to argue, now or in the future, that any such claims,
counterclaims, defenses, affirmative defenses, or rights (including arbitration) were waived
for any reason other than by solely entering into this Stipulated Scheduling Order.

                                              2
Case 4:23-cv-01013-SDJ Document 191 Filed 01/31/24 Page 3 of 5 PageID #: 607




    QJ Team Complaint, plus an additional seventeen defendants;

•   With the exception of the new plaintiffs and additional defendants included in the

    Martin Complaint, the allegations and claims in the QJ Team Complaint and the

    Martin Complaint are virtually identical;

•   The Defendants in the Martin case have not responded to the Martin Complaint

    and the parties have not yet filed an initial status report;

•   On December 27, 2023, the plaintiffs in two actions pending outside of this Court

    filed a motion pursuant to 28 U.S.C. §1407 (the “MDL Motion”) before the U.S.

    Judicial Panel on Multidistrict Litigation (the “Panel”) to transfer the QJ Team

    case, Martin case, and other cases to the U.S. District Court for the Western

    District of Missouri for coordinated or consolidated pretrial proceedings;

•   On January 8, 2024, the Clerk of the Panel issued a briefing schedule that requires

    Responses to the MDL Motion to be filed on or before January 26, 2024, and

    Replies to be filed on or before February 2, 2024;

•   Counsel for the QJ Team Plaintiffs, Martin Plaintiffs, and Stipulating Defendants

    have negotiated and agreed on certain deadlines that would be incorporated into

    a stipulated scheduling order for preliminary pretrial matters in the QJ Team and

    Martin cases; and

•   On January 20, 2024, the Court issued an Order in the QJ Team case [ECF 186]

    that requires the QJ Team Plaintiffs and Stipulating Defendants to finalize and

    submit a stipulated scheduling order to the Court on or before January 29, 2024.




                                            3
Case 4:23-cv-01013-SDJ Document 191 Filed 01/31/24 Page 4 of 5 PageID #: 608




       The QJ Team Plaintiffs, Martin Plaintiffs, and Stipulating Defendants have

stipulated and proposed preliminary deadlines to the Court. 4:23-CV-1013-SDJ,

(Dkt. #188 at 4); 4:23-CV-1104-SDJ, (Dkt. #218 at 4). The Court, after reviewing the

proposed deadlines, approves the stipulation and enters this case-specific order,

which applies to both the QJ Team case and the Martin case, and which controls the

disposition of these actions pending further order of the Court.

       It is therefore ORDERED that the following actions shall be completed in the

QJ Team case and the Martin case by the dates indicated:

•   On or before February 15, 2024, the QJ Team Plaintiffs and Martin Plaintiffs

    (collectively, the “Plaintiffs”) shall file a Motion to Consolidate the QJ Team and

    Martin cases for all purposes under 4:23-cv-01013. Defendants agree and consent

    to the filing of the Motion to Consolidate as “unopposed;” provided, they are served

    with a copy of the motion prior to filing and consent to the relief it seeks.

•   On or before March 15, 2024, Plaintiffs shall file a Consolidated Amended

    Complaint (“CAC”). The CAC will not be considered Plaintiffs’ amended complaint

    “as a matter of course” under FED. R. CIV. P. 15(a)(1).

•   On or before May 15, 2024, Defendants shall file any answers, motions to dismiss,

    or other responsive pleadings to the CAC.

•   On or before July 15, 2024, Plaintiffs shall file any responses in opposition to any

    motions to dismiss.

•   On or before August 5, 2024, Defendants shall file any replies addressing issues

    raised in Plaintiffs’ responses to the motions to dismiss.



                                            4
Case 4:23-cv-01013-SDJ Document 191 Filed 01/31/24 Page 5 of 5 PageID #: 609




•    On or before August 26, 2024, Plaintiffs shall file any sur-replies addressing

     issues raised in Defendants’ replies to Plaintiffs’ responses to the motions to

    . dismiss.

•    If the Panel has not ruled on the MDL Motion before May 15, 2024, the Parties

     agree to confer in good faith on reasonable additional extensions of the above

     May 15, July 15, August 5, and August 26, 2024 motion and briefing deadlines.

•    If necessary, following the Court’s rulings on any motions to dismiss, the Parties

     will confer in good faith on any additional pretrial deadlines and submit a

     proposed scheduling order to the Court.


       So ORDERED and SIGNED this 31st day of January, 2024.




                                                 ____________________________________
                                                 SEAN D. JORDAN
                                                 UNITED STATES DISTRICT JUDGE




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